 

Case 4:13-cr-OO446-.]GZ-BG|\/| Document 5 Filed 03/20/13 Page 1 of 2
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7
8 UNITED STATES DISTRICT COURT
DISTRICT OF ARIZONA
” 1110
United States of America, ) _
10 ) CR13 11 4 6j 13
Plaintiff, g (Y>S) m
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v. g l § D l § I M_ E _N I
12
Miguel Angel Marquez-Martinez,) Violations: 8 U.S.C. § 1326 (enhanced by
13 aka Miguel A. Marquez, § 8 U.S.C. § l326(b)(2))
14 Defendant. g (Re-Entry After Deportation)
15
16 THE GRAND JURY CHARGES:
17 On or about February 20, 2013, at or near Nogales, in the Distriet of Arizona, Miguel
18 Angel MarqueZ-Martinez, aka Miguel A. Marquez, an alien, entered and Was found in the
19 United States of America after having been denied admission, excluded, deported, and
20 removed therefrom at or near Laredo, TeXas, on or about February 5, 2013, and not having
21 obtained the express consent of the Attorney General or the Seeretary of the Department of
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Homeland Seeurity to reapply for admission thereto; in violation of Title 8, United States

Code, Section 1326, enhanced by Title 8, United States Code, Section 1326(b)(2).

 

A TRUE BILL
/S/
Presiding Juror
JoHN s. LEoNARDo MAR '
United States Attorney 2 0 2013
Distriet of Arizona

Assistant U.S.Attorney ~ ~

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Indiotment Page 2

 

 

